               Case 23-10576-TMH        Doc 640-3    Filed 09/15/23      Page 1 of 2




                                          EXHIBIT B

               SUMMARY AND DETAILS OF EXPENSE REIMBURSEMENT
                   REQUESTED FOR THIRD MONTHLY PERIOD
                   (AUGUST 1, 2023 THROUGH AUGUST 16, 2023)




         EXPENSE DESCRIPTION                  VENDOR/PROVIDER                  AMOUNT

 Filing Fees                              PHS Corporate Services, Inc.         $745.00
 Delivery Service / Messengers              PACER Service Center                $22.50
 Online Services/ Internet Web Sites        PACER Service Center               $102.60
 Hearing Transcript(s)                              Reliable                    $24.00

                                       TOTAL EXPENSES REQUESTED:                $894.10




162096658v4
                      Case 23-10576-TMH   Doc 640-3   Filed 09/15/23    Page 2 of 2

Invoice Date 08/31/23
Invoice Number 30606921
File No. 264487.000002
Page 30




Christmas Tree Shops LLC
Post-Petition, Effective 5/5/23


FOR COSTS AND EXPENSES INCURRED THROUGH 08/16/23

Description                                                                                Amount
Filing Fees                                                                                 745.00
Outside Courier Services                                                                      22.50
Search Costs                                                                                102.60
Transcript Cost                                                                               24.00
                                                                                Total:      894.10


                                                          Total Fees & Costs:            $52,706.10
